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     IN THE UNITED STATES COURT OF INTERNATIONAL TRADE
      BEFORE: THE HONORABLE MARK A. BARNETT, CHIEF JUDGE




VALEO NORTH AMERICA, INC.,

              Plaintiff,

     v.

UNITED STATES OF AMERICA,                   Court No. 21-00581

              Defendant,                    PUBLIC DOCUMENT

              and

ALUMINUM ASSOCIATION COMMON
ALLOY ALUMINUM SHEET TRADE
ENFORCEMENT WORKING GROUP et
al.,

              Defendant-Intervenors.



    PLAINTIFF’S REPLY MEMORANDUM IN SUPPORT OF RULE 56.2
        MOTION FOR JUDGMENT ON THE AGENCY RECORD




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Plaintiff Valeo North America, Inc. (“Valeo”) hereby submits this reply brief in

support of its Rule 56.2 motion for judgment on the agency record contesting the

Department of Commerce’s (“Commerce’s” of the “Department’s”) scope ruling

determination concerning Plaintiff’s heat-treated T-series aluminum sheet.


                                 INTRODUCTION

      Commerce’s scope determination is unlawful. The regulations provide a

regulatory framework for scope determinations, which Commerce ignored.

Moreover, Commerce failed to undertake a lawful analysis of the applicable terms

in the scope language. For those reasons alone, Commerce’s determination must be

voided with instructions to undertake a scope analysis in accordance with the

applicable regulations.

      Defendant and Defendant-Intervenors fail to meaningfully address the

determinations challenged by Plaintiff, choosing instead to recast the challenged

determination. Namely, they never rationally address the fact that the Aluminum

Association nomenclature is limited to enumerated alloys. Nor does Defendant or

Defendant-Intervenors address the fact that the very same affidavit relied upon in

their defense confirms Plaintiff’s position that T-series alloys are not a 3xxx alloy.

See Letter, “Domestic Industry’s Response to Valeo Group’s Rebuttal Comments,”

dated June 25, 2020 (Domestic Parties Surrebuttal Comments) (PR 17; CR 7), at

Attachment 1. In fact, a separate HTS category was created to capture the out of

scope heat-treated alloys, including the same alloys at issue in this case. See Pl.

Br., at 12. This affidavit and scope clarification were submitted by Defendant-


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Inventor and presumably it is their clients that utilize this classification. This

affidavit, however, is irreconcilable with Defendant and Defendant-Intervenors’

current position.

      Finally, Defendant-Intervenors’ brief contains a number of

misrepresentations. Most notably, Defendant-Intervenors mispresent Valeo’s

position regarding brazing sheet before the International Trade Commission (the

“Commission” or “ITC”). See Def.-Int. Br. at 10-12. Plaintiff corrected these

misrepresentations at the administrative level, but Defendant-Intervenors continue

to perpetuate its misrepresentation. Defendant-Intervenors also mispresent the

time-line of this case, claiming that Valeo’s scope exclusion requests were

“incomplete.” See id., at 8. Valeo’s scope requests were not incomplete. Commerce

sought supplemental information related to k(2) factors, which Valeo provided. See

Letter from DOC to Crowell & Moring Pertaining to Valeo Scope Supplemental

Questionnaire (CR 9; PR 23), at 4. Commerce now claims that it did not need k(2)

information for its determination. See Def. Br. at 24-19. If that is the case, then

Valeo’s original submission was complete in the first instance, and Commerce was

simply requesting superfluous information.

      Scope proceeding such as this involves competing interests. All parties have

the right to expect a fair, impartial and rational application of the law. While the

aluminum producers represent an important component of the U.S. industry, the

automotive industry represented by Valeo is equally important. In fact, Valeo alone

employees more workers in the United States than the entire aluminum industry.



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Ignoring deadlines, grossly misapplying the law and claiming that the subject

matter of an ex-parte meeting was a blank piece of paper are not consistent with the

standards expected of our executive agencies. Therefore, Valeo respectfully request

that the determination issued by Commerce be voided and the matter remanded to

Commerce.

                                    ARGUMENT



I.    Commerce’s Determination Was Unlawful

      Defendant and Defendant-Intervenors’ briefs confirm that Commerce’s scope

ruling concerning Valeo’s T-series alloys was unlawful and unsupported by

substantial evidence. In a scope analysis, the first step is to determine “{i}f the

scope is unambiguous. . .” Whirlpool III, 890 F.3d at 1308 (quoting Meridian, 851

F.3d at 1381); see Arcelormittal, 684 F.3d at 87 (“the first step in a scope ruling

proceeding is to determine whether the governing language is in fact ambiguous,

and thus requires analysis of the regulatory factors previously outlined”).”

      Defendant concedes that the scope language is ambiguous. Indeed, the first

factual question analyzed by Defendant confirms ambiguity in the scope language.

As admitted by Defendant, Commerce tried to determine if Valeo’s T-series

aluminum sheet constitutes clad aluminum sheet. See Final Scope Ruling (PR 40;

CR 15), at 11-13. But, as noted by Defendant “[t]he scope language lacks an express

definition for clad aluminum sheet.” Def. Br. at 16. Then, Commerce attempts to

define 3xxx-series alloys, but immediately turns to resources beyond the scope

language. See Final Scope Ruling (PR 40; CR 15), at 11-13. Then, Commerce

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engages in an extensive discussion of the heat-treatability of T-series aluminum.

There is no question that the scope language is ambiguous.

      Given that the scope is ambiguous, the regulations instruct Commerce to

consider the descriptions of the merchandise contained in the petition, the

descriptions of the merchandise contained in the initial investigation pertaining to

the order, and prior scope determinations by Commerce and determinations by the

Commission. See 19 C.F.R § 351.225(k)(1). The regulatory framework limits

Commerce to these elements and its k(1) analysis must not go beyond an analysis of

these factors. If an analysis beyond these factors is required, Commerce must

undertake an additional “k(2)” analysis which provides for a consideration of

additional factors.

      Defendant’s case brief does not even pretend that Commerce limited its

analysis to k(1) factors. Among other arguments supporting its determination,

Defendant offers the following factors to explain its decision:

             “Notably, the term ‘heat-treated’ does not appear in the scope
              language; however, ‘clad’ is a scope term.” Def. Br., at 20.

             “… we find that Valeo has not demonstrated that the phases of
              diffused alloys within T-series aluminum sheet are not separate layers
              of a composite clad product.” Final Scope Ruling (PR 40; CR 15) at 13.

             “Commerce’s inquiry was to determine, based on record evidence,
              whether Valeo’s product constitutes clad or non-clad aluminum sheet
              and whether it is manufactured with a series alloy as designated by
              the Aluminum Association.” Def. Br., at 21.

             “ … upon its finding that Valeo’s product constitutes multi-alloy, clad
              aluminum sheet … ” Id., at 22.

             “Commerce quoted the Aluminum Association’s Teal Sheets that “{t}he
              alloy designation in the 2XXX through 8XXX groups is determined by

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              the alloying element (Mg2Si for 6XXX alloys) present in the greatest
              mean percentage.” Id.

These are all k(2) considerations.

       Moreover, Defendant’s case brief is replete with references to Valeo’s

“incomplete” scope request. See, e.g., Def. Br., at 16. If Commerce was, in fact,

undertaking a k(1) analysis, then Valeo’s initial scope ruling request was complete

in the first instance. The additional information that Commerce sought in its

supplemental questionnaires related to k(2) factors, not k(1) factors. None of the

information in the supplemental questionnaires were required if Commerce was

able to undertake a k(1) analysis. By requesting and then utilizing information

related to k(2), Commerce clearly undertook a partial k(2) analysis which it

unlawfully characterized as a k(1) analysis. For that reason, Commerce’s

determination is unlawful.



II.    Defendant and Defendant-Intervenors Fail to Address the
       Substantial Evidence Issues Raised by Plaintiff

       A.     The Aluminum Association Nomenclature Is Explicitly Limited to
              Enumerated Alloys

       Defendant never meaningfully addresses two essential elements of Valeo’s

substantial evidence arguments and instead mischaracterizes the issue as whether

or not Valeo’s heat-treated alloy is clad. The determination regarding clad or not

clad is not dispositive as to scope. Instead, the issue is if Valeo’s alloy (core or as

whole) is a 3xxx alloy.




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      Designation of an alloy as a 3xxx alloy necessarily relies on the Aluminum

Association’s numerical system. That system is limited to designated alloys and

does not encompass other metals containing aluminum. The header to the

numerical system makes that clear and specifies that “a numerical designation

assigned in confirmation with the Recommendation should only be used to indicate

an aluminum of an aluminum alloy having chemical composition limits identical to

those registered with the Signatories…” See 2nd Scope Ruling Request (PR 14; CR

5), at Exhibit 3, p. 28 (emphasis added). Thus, the entire numerical system is

limited to “aluminum alloy having chemical composition limits identical to those

registered with the Signatories.” Id.

      It is clear from the framework of the recommendation that the header

governs the entirety of the numerical system:




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      As seen above, the header contains an explicit prohibition against using the

numerical system for a non-registered alloy. The headers applies to all notes

including “note 2” describing alloy groups based on major alloying elements.

Despite the explicit prohibition against assigning a numerical designation to a

unregistered alloys, that is precisely what Commece did. Namely, Commerce

assigned a numerical designation (3xxx) in direct conflict with the Aluminum

Association specifications prohibiting the assignment of a numerical designation to

a chemical composition limit that is not identical to those registered with the


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Signatories. Id. Commerce’s continued disregard for the framework of the

numerical destination system utilized by the Aluminum Association must be

rejected.


      Defendant claims that it relied on “record evidence” for the proposition that

unregistered alloys may be assigned an alloy series group (i.e., a numerical

designation) based only on the principal alloying element. See Def. Br. at 33. In

other words, Defendant claims that record evidence supports the position that a

numerical designation may be assigned to a chemical composition limit that is not

identical to those registered with the Signatories. As “record evidence,” Defendant

cites to the Final Scope Ruling at 14. The Final Scope Ruling, in turn, cites to First

DIPs Comments at Attachment 6 at paragraph 7 as the “record evidence” for

Commerce’s finding that an alloy that is not registered with the Aluminum

Association may be assigned a numerical designation. See Final Scope Ruling (PR

40; CR 15) at 13. Attachment 6 at paragraph 7 (i.e., Commerce’s “record evidence”)

provides as follows:


             6. As stated above in Paragraph 4, the Aluminum Association’s Teal
             Sheets are based on a classification system that designates eight
             different “series” for the identification of alloys based on the alloy’s
             aluminum content and/or principal alloying element. The eight series
             are referred to as the “one thousand series” or “1XXX-series” through
             the “eight thousand series” or “8XXX-series”. The eight series and their
             unique chemistry profiles are as follows:
                1XXX-series – Contains at least 99.00 percent aluminum;
                2XXX-series – Copper is the principal alloying element;
                3XXX-series – Manganese is the principal alloying element;
                4XXX-series – Silicon is the principal alloying element;
                5XXX-series – Magnesium is the principal alloying element;


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                  6XXX-series – Magnesium and silicon are the principal alloying
                   elements;
                  7XXX-series – Zinc is the principal alloying element; and
                  8XXX-series – Other elements are the principal alloying element.

Domestic Parties First Comments, (PR 9) at Attachment 6. Commerce’s “record

evidence” for the proposition that a notation is not governed by its header is a

citation back to the original notation, albeit in affidavit form.

      Commerce’s focus on notes without regard to the header would

fundamentally alter the framework of the Aluminum Association’s numerical

system. As discussed in our submissions, groups of aluminum alloys have

particular end-uses and physical properties. That is because the specific registered

alloys in the groups share common characteristics. For example, it is uncontested

that 3xxx series alloys are not treat-treatable. If one were to simply assume that

any material with manganese as its primary alloying element was a 3xxx series

alloy, the entire framework falls apart. For example, a product that is 34 percent

aluminum, 34 percent manganese and 32 copper is clearly not a 3xxx series

aluminum product.

      Commerce’s assignment of a numerical designation despite the express

prohibition against that assignment is not supported by substantial evidence.

Certainly “as designated by the Aluminum Association” must include, at a

minimum, the express limitations on those designations as published by the

Aluminum Association.




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      B.     The Domestic Industry Confirmed that Heat-Treatable Alloys Are Not
             3-XXX Series Alloys

                 i. Defendant-Intervenors’ Affidavit Confirms That Heat Treatable
                    Alloys Are Not 3xxx Alloys

      Neither the Defendant nor Defendant-Intervenors address the fact that an

affidavit from the domestic industry confirms that heat-treated alloys are not 3xxx

alloys and are not within the scope of the Orders. That affidavit specifies as follows:

             9.    Between calendar years 2017 and 2019, a substantial portion of
             U.S. imports of CAAS were properly classifiable under HTSUS
             subheading 7606.12.3090, which provides for not clad aluminum alloy
             sheet and strip with a thickness exceeding 0.2 millimeters and 6.3
             millimeters or less, excluding aluminum can stock. In addition to
             covering in-scope CAAS, U.S. imports between 2017 and 2019 of
             merchandise classifiable under HTSUS subheading 7606.12.3090
             also included a limited volume of out-of-scope merchandise,
             commonly described as heat-treatable aluminum sheet.

             10.   Effective January 1, 2020, HTSUS subheading 7606.12.3090
             was split into two different statistical categories - HTSUS
             subheading 7606.12.3091 and HTSUS subheading 7606.12.3096.
             HTSUS subheading 7606.12.3091 provides for heat-treatable
             sheet, and HTSUS subheading 7606.12.3096 provides for in-
             scope CAAS.


Memorandum, “Factual Information Relevant to the Final Scope Ruling

Determination,” dated Oct. 15, 2021 (PR 41), at Attachment 6, Exhibit GEN-3

(emphasis added). The referenced subheading defines the out-of-scope “{h}eat-

treatable industrial alloys” described in Statistical Note 6 to Chapter 76, as

“aluminum containing by weight 3.0 percent or less of magnesium and 3.0 percent

or less of silicon, and/or are designated as series 6xxx in the Aluminum

Association’s specifications of registered alloys.” See 4th Scope Ruling Request (PR

31; CR 14), at Exhibit 4 (HTSUS Statistical Note 6 to Chapter 76). This definition

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confirms that heat-treatable alloys are not 3xxx alloys. Moreover, Valeo’s heat-

treatable alloys meet these terms.

      In addition, the domestic producers confirmed in the most recent cases

involving common alloys that heat-treatable alloys are not 3xxx alloys. See Pl. Br.

at 12. Specifically, in the most recently initiated CAAS investigations with

virtually the same scope language, it is confirmed that HTSUS subheading

7606.12.3091 covers “imports of out-of-scope heat-treatable sheet.” See 2nd Scope

Ruling Request (PR 14; CR 5), at 13 (citing Letter, dated March 17, 2020, from

Kelley Drye & Warren LLP, Common Alloy Aluminum Sheet from Bahrain, Brazil,

Croatia, Egypt, Germany, Greece, India, Indonesia, Italy, Korea, Oman, Romania,

Serbia, Slovenia, South Africa, Spain, Taiwan, and Turkey, Petitioners

Amendments to Volume I Relating to General Issues, at Exhibit GEN-1S, p. 11).

      Moreover, in consideration of the term “designation,” the HTSUS statistical

note demonstrates that this word also carries significance in the industry and trade

of aluminum alloys. The HTSUS number above applies to those heat-treatable

alloys which contain less than 3.0 percent magnesium or silicon, and/or “designated

as series 6xxx in the Aluminum Association’s specification of registered alloys.” As

this note explains, the word “designation” means those alloys that are designated as

such “in the Aluminum Association’s specification of registered alloys.” The final

scope of the Orders on CAAS also uses this “designated” language, though the

Defendant would have the Court believe the word carries no significance. The




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statistical notes to the HTSUS description noted above clearly demonstrate

otherwise.

                   ii. The Determination by the International Trade Commission
                       Confirms that Heat-Treated Alloys Are Not 3xxx Alloys

       The ITC’s finding regarding heat-treatable/treated alloys is a k(1) source and

confirms that the scope does not encompass heat-treatable alloys. While the

Department defines the scope, the ITC report demonstrates the ITC’s

understanding of the scope at the time it was defined by the Department. The ITC’s

interpretation supports that “as designated” means registered alloys because all

registered 1XXX, 3XXX, and 5 XXX alloys are not heat-treatable. See Domestic

Parties Surrebuttal Comments (PR 17; CR 7), at Attachment 1. Commerce’s

current interpretation of “as designated” contradicts with the ITC’s interpretation.

Valeo’s interpretation of “as designated” is harmonious with the ITC’s

interpretation.

III.      Defendant Misrepresents Valeo’s Position before the International
          Trade Commission

       The record from the original investigation confirms that alloys that do not

correspond to 1xxx, 3xxx or 5xxx specifications are outside the scope. During the

original investigation, Valeo addressed this fact, which was uncontested.

Specifically, Valeo made the following point at the ITC’s preliminary phase staff

conference:

                As a preliminary matter, we note that the vast majority of
                brazing sheet is already excluded from the scope of this case, and
                presumably already a separate like product. Brazing sheet is sold
                pursuant to proprietary grades and does not meet the 3000 series
                specifications of the aluminum association.

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             Specifically, the copper content, a necessary alloy in heat
             exchange applications, is two to five times higher than that for
             3000 aluminum alloy specifications. At issue, then, is the small
             slice of brazing sheet that may overlap with the 3000
             specifications. Should they be aligned with the already excluded
             brazing sheet? Or treated as a common alloy? That is what we
             are here to present testimony on today.

             We believe the proper answer is that all brazing sheet should be
             similarly situated and treated as a distinct like product.

2nd Scope Ruling Request (PR 14; CR 5), at 14. In the final phase of the

investigation, the ITC recognized the existence of out-of-scope brazing sheet

by requesting Chinese producers to provide separate trade data for “in-scope”

brazing sheet, as opposed to all brazing sheet. See id. The merchandise

subject to this scope ruling request is the out of- scope brazing sheet made

from a non-3xxx series core.

      It is clear from the above that Valeo did not take the position that brazing

sheet was excluded from the scope of the investigation. Instead, Valeo’s position was

that most brazing sheet was already excluded from the scope of the investigation

and the remainder of brazing sheet should likewise be excluded. In fact, at the

hearing itself, Valeo presented a variety of chemical specifications that were already

excluded from the scope of the investigation. See 4th Scope Ruling Request (PR 31;

CR 14), at Exhibit SUPP-5, p. 146-153. One such product had precisely the same

specifications as Valeo’s T-series aluminum. It is simply inaccurate to claim that

Valeo understood that brazing sheet was within the scope of the ITC investigation.




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IV.   Defendant-Intervenors’ HTS Arguments Are Irrelevant

      Defendant-Intervenors present an exhaustive discussion of the HTS

classification of T-series aluminum. HTS classification of the imported good in not

among the enumerated k(1) or k(2) factors. As such, it is not relevant to the scope

inquiry. Moreover, Defendant-Intervenors’ arguments regarding the HTS

classification are merely an extension of their clad/not-clad discussion which is not

dispositive as to scope.

      As explained in the underlying scope request, while Valeo believes that the

proper classification of its T-series aluminum is HTSUS 7606.12.3091, which

provides for not clad aluminum sheet made of heat-treatable industrial alloys, this

scope ruling request is not based on the classification of the product. As explained

above, the heat-treated T-series aluminum is outside the scope of the Orders based

on the plain language of the scope and the (k)(1) factors. Therefore, Valeo’s product

is excluded regardless of the HTSUS classification, which is the province of

Customs, not Commerce.



V.    Defendant Inexplicably Reaches a Determination on Clad/Not Clad

      Much is made by the Defendant and Defendant-Intervenors regarding the

clad/not-clad distinction with respect to Valeo’s heat-treated T-series aluminum

sheet. As the scope states, not clad aluminum sheet is, in this case, made entirely of

a 1xxx, 3xxx, or 5xxx-series alloy. Multi-alloy, clad aluminum sheet is, as the scope

states, produced from a 3xxx-series core, to which layers of other alloys are clad to



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either one or both sides. Valeo imports a multi-alloy aluminum sheet which has all

the physical characteristics of a not clad product.

      Under the plain language of the scope, however, this distinction only matters

if the Department were to assume that Valeo’s T-series heat-treated sheet is

produced using a designated 3xxx-series core with cladding layers. As stated in the

scope, what is dispositive is the “the written description of the scope,” which clearly

states that only the enumerated “designated” common alloys are included. Valeo’s

heat-treated T-series aluminum sheet is not produced from a designated 3xxx-series

core. Also, the ITC did not distinguish between clad or not clad aluminum sheet

when it confirmed that heat-treated aluminum sheet was not included in the scope

of the underlying investigation (i.e., not a 3xxx series alloy).



VI.   The Term “Common” In the Scope Language Confirms That “As
      Designated” Means Registered Alloys

      In its response brief, Defendant incorrectly argues that Commerce

appropriately interpreted the term “common” in the scope ruling. See Def. Br. at

29-31. That is factually incorrect. Commerce did not interpret the term “common.”

The only finding Commerce made was that the scope of the Orders does not exclude

proprietary alloys. See Final Scope Ruling (PR 40; CR 15), at 21. Even that finding

was based on the circular reasoning that “there is no exclusion listed in the scope

for proprietary alloys.” Id. However, that was not the question presented before

Commerce. The question was whether the existence of the term “common” in the




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scope language confirms that the scope only covers registered alloys. Commerce did

not answer this question.

      In the underlying scope ruling request, Valeo argued that the scope of the

CAAS Order should be interpreted to include only registered alloys because the

scope specifically refers to “a 1XXX-, 3XXX-, or 5XXX-series alloy as designated by

the Aluminum Association.” See 4th Scope Ruling Request (PR 31; CR 14), at 7-13.

Valeo also argued that the existence of the term “common” confirms that the scope

only includes registered alloys. See Letter, “Common Alloy Aluminum Sheet from

the People’s Republic of China: Request for Scope Ruling and Response to

Supplemental Questionnaire on Heat-Treated T-Series Aluminum Sheet,” dated

August 7, 2020 (Valeo’s Third Submission) (PR 24; CR 10), at 15. Therefore,

Commerce must interpret both “as designated” and “common” to determine whether

the scope only covers registered alloys.

      Defendant seems to claim that the term “common” needs not be interpreted

because “common alloy” is defined in the scope as “a 1XXX-, 3XXX-, or 5XXX-series

alloy as designated by the Aluminum Association.” See Def. Br. at 29. However,

the issue in this case is whether that definition covers only registered alloys.

Therefore, Commerce must interpret the term “common” to resolve the ambiguity.

      Defendant also claims that Commerce interpreted the term “common”

because it interpreted the term “as designated.” See id. at 29-30. However,

Commerce’s interpretation of the term “as designated” cannot coexist with the plain

meaning of “common.” Commerce determined that “as designated” means any alloy



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that can be registered. However, how can a “common” alloy be any alloy?

Commerce cannot answer this question without rendering the term “common”

superfluous. That is why Commerce could not interpret the term “common” in its

scope ruling.

        Commerce’s interpretation of “as designated” renders the term “common”

superfluous.1 In the scope ruling, Commerce determined that the term “common

alloy” simply means a subset of all aluminum alloys meeting certain chemical

requirements. See Final Scope Ruling (PR 40; CR 15), at 14-15. However, in

situations like that, Commerce generally uses the term “certain” to describe the

covered merchandise – for example, certain aluminum foil. Otherwise, a term in the

name of covered merchandise generally describes a characteristic associated with

the in-scope products – for example, raw honey. Therefore, the term “common”

must have a meaning other than simply referring to “certain” alloys defined in the

scope. Commerce must clarify that meaning.



VII.    Commerce Unlawfully Relied on the Declaration from the Aluminum
        Association to Resolve the Ambiguity about the Interpretation of “As
        Designated”

        In the scope ruling, Commerce unlawfully relied on the declaration of Mr.

John Weritz, the Aluminum Association’s Vice President for Standards and

Technology to resolve the ambiguity about the interpretation of “as designated.”




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           Commerce must interpret the scope so that it is “informative and non-superfluous.” See King Supply Co.
v. United States, 674 F. 3d 1343, 1350 (Fed. Cir. 2012).

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See Final Scope Ruling (PR 40; CR 15), at 14-15. In particular, Commerce relied on

the following statement made by Mr. Weritz:

             Based on this classification system, any alloy with a principal
             alloying element identified in Paragraph 6 is generally
             referred to by the applicable series designation – even in
             instances where the alloy is not registered with the Aluminum
             Association. For example, any alloy that has manganese as its
             principal alloying element is commonly referred to as a “3XXX-
             series alloy,” irrespective of whether that alloy is registered
             with the Aluminum Association. …


See Letter, “Domestic Industry’s Response to Scope Ruling Request by Valeo

Group,” dated May 27, 2020 (Domestic Parties First Comments) (PR 9-11; CR 2-4),

at Attachment 6. This is a self-serving statement from an interested party. More

importantly, this statement is not dispositive on the fundamental question raised in

the scope ruling request – i.e., whether “as designated” refers to registered alloys.

      Defendant claims that Commerce’s reliance on this statement was lawful

because the declaration was part of the record evidence. See Def. Br. at 15-24.

However, this document is distinguishable from other materials on the record. The

Aluminum Association is a business association consisting of U.S. aluminum

producers. It is an interested party pursuant to 19 U.S.C. § 351.102(b)(29)(iii) and

Defendant-Intervenor in this court case. In all proceedings involving the Orders,

the Aluminum Association played the same role as a “petitioner” in other cases; it

scrutinized, opposed, and rebutted respondents, and that is exactly the role it

played in response to Valeo’s scope ruling request. Yet, Commerce relied on Mr.

Weritz’s declaration as if he was testifying on behalf of a neutral organization.



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       In its scope ruling request, Valeo used various (k)(1) sources as well as pre-

existing industry literature to demonstrate that the phrase “as designated” refers to

registered alloys. The Aluminum Association however conveniently rebutted

Valeo’s evidence with a self-serving statement from its own representative that was

prepared for the specific purposes of contradicting the record evidence. This self-

created evidence was even contradictory to the Aluminum Association’s own

authority on alloy designation. In his declarations, Mr. Weritz stated that a “3XXX-

series alloy” refers to “any alloy that has manganese as its principal alloying

element” “irrespective of whether that alloy is registered with the Aluminum

Association.” This statement is directly contradictory to the Aluminum

Association’s Teal Sheet, which states that “numerical designation … should only be

used to indicate … an aluminum alloy having chemical composition limits identical

to those registered … {alloys}.” 2nd Scope Ruling Request (PR 14; CR 5), at Exhibit

3, p. 28.

       Furthermore, Mr. Weritz’s declaration mischaracterizes the question at issue.

The question is whether “as designated” refers to registered alloys. This is

analogous to asking whether 7-series cars “as designated” by BMW refer to 740,

750, and 760; or all full-size luxury sedans that are comparable to those cars. This

is a question of interpretation of the phrase “as designated” which can only be

answered by Commerce. However, Mr. Weritz attempts to usurp that decision-

making authority by mischaracterizing the issue as the trade usage of the term

“series.” Therefore, Commerce’s reliance on Mr. Weritz’s declaration was unlawful.



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VIII. Commerce’s Ex-Parte Meeting Was Unlawful

      Again, Defendant and Defendant-Intervenors highlight the unlawful conduct

by the Department. Government claims that the meetings related to the

incorporation of factual information from one proceeding into another proceeding.

See Def. Br. at 38-42. No explanation was provided for why and in what context

that was discussed. See id

      In addition, Defendant’s explanation of the meeting must be disregarded as

either factually inaccurate or unlawful. Defendant claims that the subject of the

meeting was Alcha’s Section C and D datafiles and their relationship to the

underlying scope inquiry. See April 22, 2021, Ex Parte Memo (PR 33). Defendant

also claims that no factual information was incorporated from the administrative

review into the scope inquiry. See id. But the referenced documents by Defendant

(Section C and D datafiles) are confidential in their entirety. As they are datafiles,

no public summary is provided. As a result, the public versions of those datafiles

are literally a blank sheet of paper. It is entirely unclear to Plaintiff how a meeting

was held when the topic of discussion was a blank sheet of paper. Commerce’s

memorandum is clearly not consistent with Commerce’s policy regarding ex-party

meetings. Nor does it fulfil the statutory purpose of providing transparency and

preventing the agency from being swayed by communications from one party to

which the other party is not privy. As such, this matter should be remanded with

instructions that Commerce provide a summary of its two ex-party meetings and a

meaningful discussion of the subject matter of those meetings.



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      Moreover, neither Defendant nor Defendant-Intervenors explain why the ex-

parte communication was not violative of 5 U.S.C. § 557(d)(1)(A), generally known

as the Government in the Sunshine Act. Since 1976, the Government in the

Sunshine Act has prohibited anyone from making an ex parte communication to an

administrative agency decision-maker concerning the merits of an issue that is

subject to formal agency proceedings.

      A scope proceeding conducted pursuant to 351.225(k)(1) or 351.225(k)(2) is

within the parameters of the Sunshine Act. The Sunshine Act applies to “any

agency proceeding which is subject to subsection (a) of this section.” 5 U.S.C. §

557(d)(1). Subsection (a) applies when a “hearing is required to be conducted in

accordance with section 556 of this title.” Section 556 applies to “…every case of

adjudication required by statute to be determined on the record after opportunity

for an agency hearing…”

      The Department of Commerce is an agency and a scope inquiry is an agency

proceeding. An agency proceeding is an action that results in an agency order,

among other actions. 5 U.S.C. § 551(13). An “order” means the whole or a part of a

final disposition, whether affirmative, negative, injunctive, or declaratory in form,

of an agency in a matter other than rule making but including licensing. 5 U.S.C. §

551(6). A final scope determination arising from either a 351.225(k)(1) or

351.225(k)(2) analysis is a final disposition of an agency matter other than rule

making. Therefore, a final scope determination is an agency order arising from an

agency proceeding.



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      Regarding the hearing element, hearings in scope determinations are

requested pursuant to 19 C.F.R. § 351.310(c). See, for example, Certain Hardwood

Plywood Products From the People's Republic of China: Preliminary Scope

Determination and Affirmative Preliminary Determination of Circumvention of the

Antidumping and Countervailing Duty Orders, 87 Fed. Reg. 45,753 (July 29, 2022)

(“Pursuant to 19 CFR 351.310(c), interested parties who wish to request a hearing,

limited to issues raised in the case and rebuttal briefs, must submit a written

request to the Assistant Secretary for Enforcement and Compliance, U.S.

Department of Commerce, within 30 days after the date of publication of this

notice.”). Therefore, a scope proceeding is an “adjudication required by statute to be

determined on the record after opportunity for an agency hearing.” Consequently,

Commerce’s scope proceedings are an adjudication on the record after opportunity

for an agency hearing.

      The Government in the Sunshine Act specifically prohibits certain off-the-

record comments, known as ex parte communications, directed to executive or

independent agency officials on the merits of matters under their formal

consideration. Specifically, “no interested person outside the agency shall make or

knowingly cause to be made to any member of the body comprising the agency,

administrative law judge, or other employee who is or may reasonably be expected

to be involved in the decisional process of the proceeding, an ex parte

communication relevant to the merits of the proceeding. 5 U.S.C. § 557(d)(1)(A)

Parties before an agency are entitled to a fair, impartial hearing and to equal access



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to the fact-finder. The ex parte rule is designed to preserve the due process rights of

all parties to administrative proceedings.



                                  CONCLUSION

      For the reasons set forth above, Plaintiff respectfully urge this Court to reject

the arguments of Defendant and Defendant-Intervenors in their response briefs.




                                             Respectfully submitted,



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                 CERTIFICATE OF COMPLIANCE

I hereby certify that the foregoing brief complies with the Rules of this
Court and the Court’s scheduling order in that it contains 5,184 words,
including text, footnotes, headings, and exhibits and excluding the table
of contents, table of authorities, and counsel’s signature block.




                                     Daniel Cannistra
